AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
2020 AUG 11 PM 3:32

for the
Northern District of Texas
DEPUTY CLERK OF —-

United States of America
v. )
Eric Prescott Kay (01)
)
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) _ Eric Prescott Kay >
who is accused of an offense or violation based on the following document filed with the court:

[ Indictment (1 Superseding Indictment © Information © Superseding Information we Complaint
© Probation Violation Petition C) Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

21 U.S.C. § Conspiracy to distribute or possesss with an intent to distribute a controlled
846 substance

Date: July 30, 2020

@ Issuing officer's signature

L. CURETON, U.S. Magistrate Judge
Printed name and title

City and state. Fort Worth, Texas

Return

This warrant was received on (date) 9 Io , and the person was arrested on (date) § / 2/f7

at (city and state) $f: +- bot TX :
Date: 3/ DM A Ma

C= 7 "Arresting officer's signature
Celt L.ufule, Sperel Agel

—

Printed name and title

